                                                  Case 4:13-cv-02642-CW Document 27 Filed 08/28/13 Page 1 of 3




                                           1                     IN THE UNITED STATES DISTRICT COURT

                                           2                   FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                               REBECCA SWEARINGER and KIM                         No. C 13-2642 CW
                                           4   FREEMAN,
                                                                                                  ORDER DENYING
                                           5                Plaintiffs,                           MOTION FOR LEAVE
                                                                                                  TO APPEAR PRO HAC
                                           6           v.                                         VICE (Docket No.
                                                                                                  25)
                                           7   PASKENTA BAND OF NOMLAKI INDIANS
                                               TRIBAL BUSINESS COUNCIL,
                                           8
                                                         Defendant.
                                           9   ________________________________/
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                                                       Joseph Kitto, an active member of the District of Columbia
For the Northern District of California




                                          11
                                               bar, moves for leave to appear pro hac vice.        His motion is
    United States District Court




                                          12
                                               denied.
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                                                       Civil Local Rule 11-3(b) provides that “an applicant is not
                                          14
                                               eligible for admission to practice pro hac vice if the applicant:
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                                               (1) Resides in California; or (2) Is regularly engaged in the
                                          16
                                               practice of law in the State of California.”        Kitto is not only a
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                                               California resident but also regularly practices law in the state.
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                                               He has listed a California mailing address and a California phone
                                          19
                                               number on several filings in this case and has appeared on behalf
                                          20
                                               of litigants in at least four other cases in this district since
                                          21
                                               2008.    See Harrison, et al. v. Robinson Rancheria Band of Pomo
                                          22
                                               Indians Business Council, Case No. 13-1413, Docket No. 10
                                          23
                                               (granting Kitto leave to appear pro hac vice); Mishewal Wappo
                                          24
                                               Tribe of Alexander Valley v. Salazar, Case No. 09-2502, Docket
                                          25
                                               No. 8 (same); Robinson Rancheria of Pomo Indians of Cal. v.
                                          26
                                               Quitiquit et al., Case No. 11-4348, Docket No. 29 (same); Me-Wuk
                                          27
                                               Indian Cmty. of the Wilton Rancheria, et al. v. Kempthorne, et
                                          28
                                                  Case 4:13-cv-02642-CW Document 27 Filed 08/28/13 Page 2 of 3




                                           1   al., Case No. 07-5706, Docket No. 16 (same).        During the past two

                                           2   months, he has filed briefs in two of these cases.         See Harrison,

                                           3   Case No. 13-1413, Docket No. 26; Mishewal Wappo Tribe, Case No.

                                           4   09-2502, Docket No. 190.

                                           5           In the present case, Kitto waited more than two months after

                                           6   the complaint was filed before he moved to be admitted pro hac

                                           7   vice; even then, he did so only after this Court directed him to

                                           8   file such a motion.    See Order Granting Motion to Dismiss, Docket

                                           9   No. 27 at 10.    During the interim, he has filed several documents
                                          10   in this matter, including Plaintiffs’ opposition to a motion to
For the Northern District of California




                                          11   dismiss, and appeared at an ADR scheduling telephone conference on
    United States District Court




                                          12   Plaintiffs’ behalf.    Declaration of Bradley G. Bledsoe Downes
                                          13   ¶ 18.    Kitto also failed to respond to a letter from Defendant’s
                                          14   counsel notifying him that he was not admitted to practice in this
                                          15   district and not eligible to be admitted pro hac vice.            Id. ¶ 15.
                                          16           In sum, Kitto has not established that he is eligible for
                                          17   admission pro hac vice.     He may renew his motion if he can show
                                          18   that he “(i) has been a resident of California for less than one

                                          19   year; [and] (ii) has registered with, and completed all required

                                          20   applications for admission to, the State Bar of California.”

                                          21   Civil L.R. 11-3(b)(2).

                                          22                                   CONCLUSION

                                          23           For the reasons set forth above, Kitto’s motion for leave to

                                          24   appear pro hac vice (Docket No. 25) is DENIED.         Kitto may not

                                          25   appear in this matter unless he becomes a member of the bar of

                                          26   this Court or establishes that he satisfies the requirements of

                                          27   Civil Local Rule 11-3(b)(2) outlined above.        The clerk shall

                                          28   provide a copy of this order to Judge Tigar and Judge Davila, both

                                                                                    2
                                                     Case 4:13-cv-02642-CW Document 27 Filed 08/28/13 Page 3 of 3




                                           1   of whom are currently assigned to cases in which Kitto has

                                           2   recently appeared pro hac vice.         See Harrison, Case No. 13-1413

                                           3   JST; Mishewal Wappo Tribe, Case No. 09-2502 EJD.

                                           4           IT IS SO ORDERED.

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                                           6   Dated: 8/28/2013                         CLAUDIA WILKEN
                                                                                        United States District Judge
                                           7
                                               cc:          JST, EJD
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For the Northern District of California




                                          11
    United States District Court




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